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16
17                    IN THE UNITED STATES DISTRICT COURT
18                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                   WESTERN DIVISION
20
     CRYTEK GMBH,                   )         Case No. 2:17-cv-08937-DMG-FFM
21                                  )
                        Plaintiff,  )         [HON. DOLLY M. GEE]
22                                  )
23            v.                    )         JOINT REPORT REGARDING
                                    )         ADR PROCESS
24   CLOUD IMPERIUM GAMES CORP. )
     and ROBERTS SPACE INDUSTRIES )           Served: April 5, 2019
25   CORP.,                         )
26                                  )
                        Defendants. )
27                                  )
                                    )
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30                                       1
                        JOINT REPORT REGARDING ADR PROCESS
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 1         Pursuant to this Court’s Order/Referral to ADR (Dkt. 56), the parties jointly submit
 2 the below report regarding the progress of settlement discussions.
 3         On July 18, 2019 the parties participated in a Settlement Conference before
 4 Magistrate Judge Alexander F. MacKinnon. While the settlement negotiations were
 5 productive, ultimately the parties were not able to settle the case during the Settlement
 6 Conference. However, the parties agreed to continue settlement negotiations in good faith
 7 moving forward.
 8
 9 Dated: July 25, 2018
10                                                  ERISE IP, P.A.
11                                                  By: /s/ Eric A. Buresh
12                                                      Eric A. Buresh (pro hac vice)
                                                            Attorneys for Plaintiff
13                                                           CRYTEK GMBH
14
15                                                  FRANKFURT KURNIT KLEIN
16                                                  & SELZ, P.C.
                                                    By: /s/ Jeremy S. Goldman
17
                                                       Jeremy S. Goldman
18                                                     Attorneys for Defendants Cloud
19                                                    Imperium Games Corp. and
                                                      Roberts Space Industries Corp.
20
21                                         ATTESTATION
           Pursuant to Central District Local Rule 5-4.3.4(a)(2)(i), the filer of this document
22
     hereby attests that all other signatories listed, and on whose behalf the filing is submitted,
23
     concur in the filing’s content and have authorized this filing.
24
25
     Dated: July 25, 2019                           By: /s/ Eric A. Buresh
26                                                      Eric A. Buresh
27
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30                                         2
                          JOINT REPORT REGARDING ADR PROCESS
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